                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 1 of 20 Page ID #:347




                                1 TODD M. LANDER (BAR NO. 173031)
                                  todd.lander@ffslaw.com
                                2 FREEMAN, FREEMAN & SMILEY, LLP
                                  1888 Century Park East, Suite 1900
                                3 Los Angeles, California 90067
                                  Telephone: (310) 255-6100
                                4 Facsimile: (310) 255-6200
                                5 Attorneys for PMC BANCORP, f/k/a
                                  PROFESSIONAL MORTGAGE CORP.
                                6
                                7
                                8                                UNITED STATES DISTRICT COURT
                                9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                               10
                               11 LEHMAN BROTHERS HOLDINGS,                           Case No. CV15-04867 JAK (PJWx)
    LLP




                                  INC.,
FREEMAN, FREEMAN & SMILEY,




                               12                                                     NOTICE OF MOTION AND
                                             Plaintiff,                               MOTION TO DISMISS
                               13
                                        vs.                                           Judge:   Hon. John A. Kronstadt
                               14                                                     Date:    January 25, 2016
                                  PMC BANCORP, f/k/a                                  Time:    8:30 a.m.
                               15 PROFESSIONAL MORTGAGE                               Ctrm:    750
                                  CORP. and PMAC LENDING                                       255 East Temple Street
                               16 SERVICES, INC.,                                              Los Angeles, CA 90012-3332
                               17                         Defendants.                 The Hon. John A. Kronstadt
                                                                                      Honorable Patrick J. Walsh
                               18
                               19            TO ALL PARTIES AND THEIR COUNSEL OF RECORD;
                               20            PLEASE TAKE NOTICE that at 8:30 a.m. on January 25, 2016 or as soon
                               21 thereafter as the matter may be heard in Courtroom 750 of the above entitled Court
                               22 located at 255 East Temple Street, Los Angeles, California, Defendant PMC
                               23 BANCORP, f/k/a PROFESSIONAL MORTGAGE CORP. (“PMC”) will and
                               24 hereby does move the Court for an order dismissing the Complaint of Plaintiff
                               25 LEHMAN BROTHERS HOLDINGS, INC., (“Plaintiff”) against Bancorp, under
                               26 Rule 12(b)(6) of the Federal Rules of Civil Procedure.
                               27            This Motion is based on this Notice of Motion, the accompanying Request for
                               28 Judicial Notice, the attached Points and Authorities, and upon such other and further
                                    2759980.1 24312-200
                                                                   NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 2 of 20 Page ID #:348




                                1 argument and evidence as the Court may receive at the time of hearing. In
                                2 accordance with Local Rule 7-3, the parties met and conferred concerning the
                                3 subject matter of this Motion on September 23, 2015 – as part of a Mediation in Los
                                4 Angeles.
                                5
                                6 DATED: October 9, 2015              FREEMAN, FREEMAN & SMILEY, LLP
                                7
                                8
                                                                      By:         /s/ Todd M. Lander
                                9
                                                                            TODD M. LANDER
                               10                                           Attorneys for PMC BANCORP, f/k/a
                                                                            PROFESSIONAL MORTGAGA CORP.
                               11
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12
                               13
                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28
                                    2759980.1 24312-200
                                                                             2
                                                          NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 3 of 20 Page ID #:349




                                1                                                 TABLE OF CONTENTS
                                2                                                                                                                             Page
                                3 I.         INTRODUCTION ............................................................................................. 1 
                                4 II.        FACTUAL BACKGROUND ........................................................................... 2 
                                5            A.           The Lehman Sale And First Lawsuit ...................................................... 2 
                                6            B.           The PMAC Transaction .......................................................................... 4 
                                7            C.           Lehman Pursues A Second Lawsuit ....................................................... 6 
                                8 III.       THE STANDARDS FOR RULE 12(B)(6) ....................................................... 8 
                                9 IV.        ARGUMENT .................................................................................................... 9 
                               10            A.           This Lawsuit Is Barres As Res Judicata Between Lehman And
                                                          Bancorp ................................................................................................. 10 
                               11
    LLP




                                             B.           The Indemnity Claim Is Barred By The Statute Of Limitations .......... 13 
FREEMAN, FREEMAN & SMILEY,




                               12
                                             C.           The Lawsuit Is Also Barred By Laches ................................................ 14 
                               13
                                    V.       CONCLUSION ............................................................................................... 15 
                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28
                                    2759980.1 24312-200
                                                                                                      i
                                                                          NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 4 of 20 Page ID #:350




                                1                                        TABLE OF AUTHORITIES
                                2                                                                                                                Page
                                3
                                     CASES 
                                4
                                     Ashcroft v. Iqbal
                                5          556 U.S. 662, 129 S. Ct. 1937 (2009) .............................................................. 9
                                6 Bell Atl. Corp. v. Twombly
                                        550 U.S. 544 127 S. Ct. 1955, (2007) ............................................................... 9
                                7
                                  Boeken v. Philip Morris USA, Inc.
                                8       48 Cal.4th 788, 108 Cal.Rptr.3d 806 P.3d 342 (2010) ................................... 12
                                9 Crowley v. Katleman
                                       8 Cal.4th 666, 34 Cal.Rptr.2d 386 P.2d 1083 (1994) ..................................... 11
                               10
                                  Eichman v. Fotomat Corp.
                               11      147 Cal.App.3d 1170, 197 Cal.Rptr. 612 (1983) ........................................... 12
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12 Ely-Cruikshank Co. v. Bank of Montreal
                                        615 N.E.2d 985 (N.Y. 1993) ........................................................................... 13
                               13
                                  Global Fin. Corp. v. Triarc Corp.,
                               14       715 N.E.2d 482 (N.Y. 1999) ........................................................................... 13
                               15 Gonzales v. California Dep't of Corr.
                                        739 F.3d 1226 (9th Cir. 2014) ......................................................................... 12
                               16
                                  Kleinclaus v. Dutard
                               17       147 Cal. 245(1905) .......................................................................................... 14
                               18 Lopez v. Professional Collection Consultants
                                        2011 WL 4964886, at * 2 (C.D. Cal. 2011) ...................................................... 9
                               19
                                  Owl Drug Co. v. Bryant
                               20       115 Cal.App.2d 296 (1953) ............................................................................. 10
                               21 Oxbow Calcining USA Inc. v. American Indus. Partners
                                          948 N.Y.S.2d 24 (N.Y. App. Div. 2012) ....................................................... 14
                               22
                                  Trujillo v. Santa Clara County
                               23        775 F.2d 1359 (9th Cir. 1985) .......................................................................... 12
                               24 Wolfjen v. Dolten
                                        24 Cal.2d 891 (1944) ...................................................................................... 11
                               25
                               26
                               27
                               28
                                     2759980.1 24312-200
                                                                                              ii
                                                                    NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 5 of 20 Page ID #:351




                                1 STATUTES 
                                2 C.J.S., Judgments, § 657 ............................................................................................ 10
                                3 C.J.S., Judgments, § 661 ............................................................................................ 10
                                4
                                5 OTHER AUTHORITIES 
                                6 N.Y. CPLR LAW § 213(2) ........................................................................................ 13
                                7
                                8 RULES 
                                9 Rule 12(b)(6) of the Federal Rules of Civil Procedure ............................................... 1
                               10
                               11
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12
                               13
                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28
                                    2759980.1 24312-200
                                                                                              iii
                                                                     NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 6 of 20 Page ID #:352




                                1 I.         INTRODUCTION
                                2            This action has been pending for years, and this iteration of it constitutes an
                                3 impermissible attempt to re-litigate claims already reduced to judgment two years
                                4 ago, in violation of California’s public policy prohibiting the splitting of causes of
                                5 action. In September 2010, Plaintiff Lehman Brother Holdings, Inc. (“Lehman”)
                                6 filed a breach of contract and indemnity claim against PMC BanCorp (“BanCorp”),
                                7 stemming from BanCorp’s sale of loan servicing rights to Aurora Savings Bank (a
                                8 wholly owned subsidiary of Lehman) which in turn sold them to Lehman Brothers
                                9 Bank – Lehman’s predecessor. These sales started in late 2004 and ended in late
                               10 2007 pursuant to a Loan Purchase Agreement between Lehman and BanCorp.
                               11 Lehman alleged that the transacted loans contained certain “defects”, in breach of
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12 representations and warranties BanCorp made as part of the loan agreements. That
                               13 action resulted in Lehman obtaining judgment against BanCorp in 2013.
                               14            That part is simple. Lehman has a judgment, which it wants to enforce. And
                               15 it is entitled to pursue enforcement efforts. What it can’t do is re-litigate the same
                               16 rights that were the subject of the prior lawsuit between these parties. But that, alas,
                               17 is precisely what Lehman intends by way of this case. Its single claim for
                               18 contractual indemnity against BanCorp derives from and is based on the same
                               19 alleged breaches, of the same loan sales agreements, that formed the basis of
                               20 Lehman’s September 2010 lawsuit. In short, Lehman has re-filed essentially the
                               21 same lawsuit for the same purported breaches of the same contracts that are the
                               22 subject of the existing judgment. The law of claim splitting and res judicata
                               23 prohibit this form of duplicative litigation.
                               24            That alone demands dismissal of the case against Bancorp. Beyond that,
                               25 however, Lehman’s indemnity claim is barred by the statute of limitation and the
                               26 doctrine of laches. Thus, for all these reasons, this Motion should be granted and
                               27 the Complaint dismissed, with prejudice.
                               28
                                    2759980.1 24312-200
                                                                                  1
                                                              NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 7 of 20 Page ID #:353




                                1 II.        FACTUAL BACKGROUND
                                2            A.           The Lehman Sale And First Lawsuit
                                3            The basic facts of this dispute are not in reasonable dispute. BanCorp
                                4 admittedly sold, and Lehman clearly acquired, a series of mortgage loan servicing
                                5 rights between 2004 and terminating in late 2007. BanCorp does not dispute that,
                                6 as part of the transfer of loans, it made certain representations and warranties
                                7 concerning the loans themselves. The Loan Purchase Agreement between Aurora
                                8 Bank and BanCorp and Lehman and BanCorp (the “LPAs”) provided, among other
                                9 things, that BanCorp vowed that: (1) the information provided to Lehman,
                               10 concerning the loans, was not falsified; (2) BanCorp complied with all applicable
                               11 laws and regulations concerning the origination, closing, underwriting, processing
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12 and servicing of the subject loans; (3) all statements made, and agreements
                               13 provided, for loan underwriting were not falsified and contain no untrue statements;
                               14 (4) no default breach exists under the mortgages being sold; (4) the loans were
                               15 originated in accordance with the “Seller’s Guide”; and (5) the mortgaged properties
                               16 were lawfully occupied.
                               17            BanCorp does not contest these representations and warranties. They are
                               18 found within the LPA. BanCorp executed with Lehman. The problem is that
                               19 Lehman filed litigation over the purported breach of those contractual
                               20 representations and warranties in 2010, and took that litigation to summary
                               21 judgment in February 2013. But now, more than three years later, Lehman has filed
                               22 the present lawsuit seeking to vindicate the very rights it enforced in 2010. It has,
                               23 in other words, split its cause of action, precluding recovery on this action.
                               24            In that regard, the facts remain straightforward regarding Lehman’s initially
                               25 filed lawsuit. Lehman alleged, in a complaint filed September 27, 2010, that it had
                               26 contracted to purchase loans from BanCorp in 2004, that the agreement included the
                               27 representations and warranties identified above, and that BanCorp breached those
                               28 representations and warranties. See Request for Judicial Notice, Exhibit A, ¶¶ 8-11.
                                    2759980.1 24312-200
                                                                                     2
                                                                   NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 8 of 20 Page ID #:354




                                1 The 2010 Complaint sought recovery for breach of contract, breach of express
                                2 warranty, indemnity, and specific performance. Id., First through Fourth Claims for
                                3 Relief. The basic gist of the lawsuit was simple: BanCorp sold loans to Lehman,
                                4 and those loans were defective in ways conflicting with the representations and
                                5 warranties in the LPAs. That included, among other things, loans where the
                                6 borrower failed to make payments, and other infirmities that, according to Lehman,
                                7 constituted breaches of the LPAs. The 2010 Complaint also alleged that these
                                8 asserted problems with the transacted loans violated the Seller’s Guide, and
                                9 Lehman’s rights under that instrument. Id., ¶¶ 15-18. Lehman finally contended
                               10 that BanCorp had later entered into an indemnity agreement concerning certain
                               11 loans specifically, under which it agreed to indemnify Lehman for any losses
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12 attendant to those loans. Id., ¶¶ 13-14.
                               13            BanCorp contested those allegations, but judgment was ultimately entered in
                               14 favor of Lehman in the amount of $1,900,000. While that judgment, entered in
                               15 2013, coincided with BanCorp engaging in an organized and transparent winding
                               16 down of its business, it in no way served as an impetus or catalyst. More
                               17 particularly, BanCorp began a series of transactions, with various third parties, to
                               18 sell its assets. There was nothing sinister or surreptitious about the process –
                               19 BanCorp was clear and open about what was transpiring, and each of the business
                               20 transactions and settlements into which it eventually entered were legitimate, arm’s
                               21 length sales with third parties, or Court authorized settlements, including the
                               22 disputed sale of lMSRs to PMAC. – transactions which were overseen, authorized,
                               23 and approved by the Government Sponsored Enterprise, Fannie Mae.1
                               24
                                    1
                               25    Although these facts – concerning PMAC – are not directly related to the basis
                                  on which Bancorp brings this Motion, we believe some context is important given
                               26 the nature of Lehman’s allegations. Specifically, Lehman alleges that PMAC is a
                               27 successor in liability to Bancorp as a result of a series of what the Complaint
                                  effectively alleges were fraudulent transfers. See Complaint [Doc.1], ¶¶41-52. In
                               28                                                                           (Continued…)
                                    2759980.1 24312-200
                                                                                3
                                                             NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 9 of 20 Page ID #:355




                                1            B.           The PMAC Transaction
                                2            The PMAC transaction, which Lehman labors to paint in a fraudulent light,
                                3 was a straightforward commercial transaction where PMAC paid millions of dollars
                                4 and other consideration for the right to service two pools of residential mortgage
                                5 loans, undisputedly owned by Fannie Mae. The details make this innocuous
                                6 conclusion clear:
                                7                  In December 2010, PMAC purchased the Master Servicing Rights to a
                                8                         pool of approximately 1,000 Fannie Mae owned loans for
                                9                         approximately $1.8 million in cash.
                               10                  In June 2011 and continuing in four installments through early 2013,
                               11                         PMAC purchased the Master Servicing Rights to a pool of
    LLP
FREEMAN, FREEMAN & SMILEY,




                               12                         approximately 9,000 Fannie Mae owned loans, structured into the four
                               13                         sub-pools, at the suggestion of Fannie Mae, for approximately $11.8
                               14                         million in cash and other consideration.
                               15            The import of these particulars is unmistakable. PMAC paid nearly $15
                               16 million in cash payments, plus other valuable consideration to BanCorp and
                               17 acquired the Master Servicing Rights to the underlying Fannie Mae loans, an
                               18 amount that constitutes significant and fair value for the purchased assets.2 Nor was
                               19
                               20 (…Continued)
                               21 light of that contention, Bancorp believes it is important to set forth the facts
                                  concerning the PMAC-Bancorp transactions, and in the process disabuse the Court
                               22 of any notion that they were improper in any respect.
                               23   2
                                       We note that the rights were sold as “non-recourse,” a designation that materially
                               24   reduced their value, for obvious reasons. That fact is important because Lehman
                                    apparently contends that PMAC bought the rights at a steep discount, and thus paid
                               25   less than equivalent value. The purchase price itself – nearly $13 million – lays
                               26   waste to that contention. But the context of the transaction, where non-recourse
                                    rights were being acquired – is relevant and significant, because it affected the
                               27   purchase price considerably.
                               28
                                    2759980.1 24312-200
                                                                                       4
                                                                    NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 10 of 20 Page ID #:356




                                 1 BanCorp insolvent in the wake of the transaction. To the contrary, BanCorp’s
                                 2 balance sheet demonstrates that the company had substantial cash assets after the
                                 3 transaction closed – it had, after all, just sold some of its Master Servicing Rights, a
                                 4 Long Term Asset in exchange for almost $15 million.
                                 5            The Company was, at the time, publically changing its business paradigm
                                 6 (before later winding its operations down), and these transactions furthered that
                                 7 intended transition.3 The same expected transformation entailed an accompanying
                                 8 reduction in Bancorp’s large sales workforce and some administrative and clerical
                                 9 employees, all of whom eventually left for other employment. Lehman contends
                                10 that the referenced MSR sales were concurrent with or accompanied by “nearly all”
                                11 of BanCorp’s key employees migrating to PMAC. See Complaint [Docket 1], ¶ 48.
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 The facts bely that assertion. Indeed, while 37-42 BanCorp employees did find their
                                13 way to PMAC, comprising only about 30% of the BanCorp workforce – hardly a
                                14
                                     3
                                15          As a result of and in the wake of the financial crises of 2008, many midlevel
                                     Mortgage Banks, such as BanCorp, and some of the largest financial institutions in
                                16   America, were forced out of business. As a matter of fact, just last week was the
                                17   seven year anniversary of Lehman’s Bankruptcy filing (Sep 14, 2008). At this
                                     critical time, BanCorp analyzed and assessed its prospects and options, and rather
                                18   than file for Bankruptcy, elected to resolve its challenges, and continue. But this
                                19   resolution necessarily involved converting Bancorp into a much leaner and more
                                     nimble company. Therefore, BanCorp (which had already had reasonable layoffs in
                                20   2007 and early 2008, as a result of the financial crises, which really started in
                                21   February 2007) elected to systematically reduce its workforce, and evolve into a
                                     bulk transaction correspondent Bank, rather than a single loan transactional
                                22   Mortgage Bank. BanCorp continued to follow this change in business model, and
                                23   from that time in late 2008 through 2012, significantly reduced its workforce and
                                     client list. During this same period, BanCorp also litigated and ultimately
                                24
                                     successfully settled numerous other similar lawsuits, of significantly greater
                                25   exposure and liability than Lehman, including those with IMPAC Funding,
                                     Countrywide / Bank of America, CitiBank Mortgage, Inc, JP Morgan Chase Bank,
                                26
                                     Aurora Bank (Lehman’s own subsidiary) Bear Stearns, Morgan Stanley, Greenwich
                                27   Capital / NORMURA, and numerous borrower lawsuits.
                                28
                                     2759980.1 24312-200
                                                                                5
                                                              NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 11 of 20 Page ID #:357




                                 1 mass migration. And there is no evidence those employees moved for any reason
                                 2 other than an effort to find new employment as BanCorp’s operational model
                                 3 changed. While it is true that some BanCorp officers ultimately moved to PMAC,
                                 4 that fact likewise does nothing to demonstrate that the financial transaction between
                                 5 BanCorp and PMAC were anything other than a legitimate arm’s length commercial
                                 6 engagements. Most notably, BanCorp was an independent Mortgage Bank that had
                                 7 been in operation for fifteen years prior to the sale, and PMAC was a large,
                                 8 independent Mortgage Brokerage, which maintained no affiliation or business
                                 9 relationship with BanCorp. Accordingly, the mere fact that some BanCorp officers
                                10 and employees opted to cast their lot with PMAC, as BanCorp’ was evolving, is
                                11 likewise an inconsequential fact for purposes of the authenticity of the underlying
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 transaction. BanCorp sold some assets, and PMAC paid millions of dollars for
                                13 those assets. BanCorp was both liquid and solvent after the transaction concluded.
                                14 It is that simple, and the evidence support no contrary conclusion
                                15            C.           Lehman Pursues A Second Lawsuit
                                16            Over the past year, Lehman’s efforts concerning the BanCorp judgment have
                                17 become more aggressive. It determined, at some point, that PMAC should be
                                18 targeted because of the asset sale described above and, presumably, the movement
                                19 of some BanCorp employees to PMAC in the months and years after the transaction.
                                20 Armed with those pedestrian facts, Lehman alleged that the sales transactions
                                21 constituted fraudulent transfers, and/or that PMAC was an alter ego of BanCorp.
                                22 These allegations are false, as a cursory review of the facts would promptly reveal.
                                23 But Lehman nevertheless launched a full court discovery blitz against PMAC and
                                24 BanCorp, under FRCP Rule 69 – permitting discovery in the context of judgment
                                25 enforcement. And there have been no limits to Lehman’s aggression in seeking this
                                26 discovery – it has demanded widespread depositions and document productions, all
                                27 under the guise of establishing that PMAC is somehow answerable for the 2013
                                28 judgment obtained against BanCorp. The scope of these efforts is excessive and
                                     2759980.1 24312-200
                                                                                     6
                                                                   NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 12 of 20 Page ID #:358




                                 1 abusive, and contravenes the privacy rights of myriad former BanCorp employees,
                                 2 all of which has led to law and motion before Magistrate Judge Walsh.
                                 3            Alas, Lehman did not stop at overbroad and oppressive discovery. On June
                                 4 26, 2015, it filed this lawsuit, against both BanCorp and PMAC, claiming
                                 5 contractual indemnity rights arising out of the same loan transactions that served
                                 6 as the basis for its first lawsuit against BanCorp in 2010. The precise details are
                                 7 uncertain, because the present Complaint is a masterpiece of conscious ambiguity
                                 8 and obfuscation. But the essential narrative, as Lehman contends, is that: (1)
                                 9 Lehman bought mortgage loans from BanCorp (the dates of the transactions are not
                                10 alleged, but it’s clearly the same transactions alleged in the 2010 Complaint); (2) the
                                11 loan transactions incorporated the Seller’s Guide (just as in the first Complaint), and
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 that includes third party indemnity rights in favor of entities such as Lehman; (3)
                                13 BanCorp made the same representations and warranties concerning the transacted
                                14 loans as were alleged in the 2010 lawsuit (including the vow that no information
                                15 furnished to the purchaser was false, that the seller complied with all laws and
                                16 regulations concerning the loans, all statements to underwriters were true, there no
                                17 default breaches concerning the loans, the loans were originated in accordance with
                                18 the Seller’s guide and the mortgaged properties were lawfully occupied); (4) those
                                19 representations and warranties were breached, in fundamentally the same manner as
                                20 asserted in 2010 (information provided in the loan files was allegedly false, for
                                21 example, and other infirmities); (5) certain government sponsored entities (such as
                                22 Fannie Mae and Freddie Mac), to whom Lehman had sold the loans, demanded
                                23 compensation or loan repurchase from Lehman after discovering the defects in the
                                24 loans, and that Lehman eventually settled with the agencies in 2014; and (6)
                                25 BanCorp must indemnify Lehman concerning the settlement amounts reached with
                                26 the GSE’s. See Complaint [Docket 1], ¶¶ 26-28, and 33-38.
                                27            This Complaint is, however, most notable for what it does not allege – namely
                                28 the specific agreements which Lehman contends were breached and which it seeks
                                     2759980.1 24312-200
                                                                                 7
                                                              NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 13 of 20 Page ID #:359




                                 1 to vindicate, the loans in issue and how this claim differs in any material way from
                                 2 the litigation filed in 2010. Those uncertainties are plainly a product of design.
                                 3 Lehman understands it is re-litigating the same agreements, and the same alleged
                                 4 breaches, that formed the basis of its prior lawsuit, and it clearly understands the
                                 5 implications of that repetitive pursuit. That is, this minimally constitutes a splitting
                                 6 of Lehman’s cause of action – under the primary right theory – and the case must be
                                 7 dismissed on that basis alone. But there is more. That excessive delay is
                                 8 inexplicable, made more so by the fact that Lehman did not notify BanCorp or
                                 9 otherwise demand indemnity at any time prior to the consummation of the
                                10 settlements with the GSEs. In other words, Lehman sat on its rights for years and,
                                11 in the process, denied BanCorp the right to participate in the negotiation of
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 settlements concerning the very obligations for which Lehman now wants BanCorp
                                13 to answer. That failure gives rise to an obvious laches defense, and to a cross-
                                14 complaint for breach of the covenant of good faith and fair dealing.4
                                15            It is, as mentioned, difficult to decipher the Complaint at first blush. But it is
                                16 clear on its face that this lawsuit is based on the same agreements, and the same
                                17 purported breaches, that gave rise to the 2010 litigation and which purportedly
                                18 supported the judgment entered against Bancorp in 2013. Thus, Lehman has re-
                                19 launched the same litigation against the same defendant, two years after securing
                                20 judgment on the first case. The matter is res judicata as between Lehman and
                                21 Bancorp, and must therefore be dismissed.
                                22 / / /
                                23
                                24
                                     4
                                25     BanCorp, under the doctrine of contractual good faith and fair dealing, had the
                                   right to be notified of the GSEs’ claims against Lehman, and Lehman’s concomitant
                                26 claim for indemnification, so that it could participate in the settlement negotiations
                                27 and thus have a voice in determining the quantum of liability Lehman demands it
                                   satisfy.
                                28
                                     2759980.1 24312-200
                                                                                    8
                                                                NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 14 of 20 Page ID #:360




                                 1 III.       THE STANDARDS FOR RULE 12(B)(6)
                                 2            To survive a motion to dismiss, a party asserting a claim in relief must
                                 3 provide sufficient facts that, if “accepted as true, . . . state a claim to relief that is
                                 4 plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009)
                                 5 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, (2007)). A
                                 6 claim “has facial plausibility when the plaintiff pleads factual content that allows the
                                 7 court to draw the reasonable inference that the defendant is liable for the misconduct
                                 8 alleged.” Iqbal, 556 U.S. at 678. The plausibility standard is not akin to a
                                 9 “probability requirement,” but asks for more than a sheer possibility that a defendant
                                10 has acted unlawfully. Id. Where a complaint pleads facts that are “merely
                                11 consistent with” a defendant’s liability, it “stops short of the line between possibility
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 and plausibility of entitlement to relief.” Twombly, 550 U.S. at 557.
                                13            Under Federal Rule of Civil Procedure 8, a complaint must make a “showing”
                                14 that the plaintiff is entitled to relief “rather than a blanket assertion” of entitlement
                                15 to relief. Id. at 555, n.3. Rule 8 “demands more than an unadorned, the defendant-
                                16 unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. A pleading that offers
                                17 “labels and conclusions” or “a formulaic recitation of the elements of a cause of
                                18 action will not do.” Twombly, 550 U.S. at 555. Indeed, while properly pleaded
                                19 facts are considered true for purposes of a Motion to Dismiss, legal conclusions are
                                20 to be disregarded under Rule 12(b)(6). See e.g., Lopez v. Professional Collection
                                21 Consultants, 2011 WL 4964886, at * 2 (C.D. Cal. 2011), citing Twombly.
                                22 Applying these standards here, SFI’s Complaint cannot survive.
                                23 / / /
                                24 / / /
                                25 / / /
                                26 / / /
                                27 / / /
                                28 / / /
                                     2759980.1 24312-200
                                                                                   9
                                                               NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 15 of 20 Page ID #:361




                                 1 IV.        ARGUMENT
                                 2            A.           This Lawsuit Is Barres As Res Judicata Between Lehman And
                                 3                         Bancorp
                                 4            This lawsuit suffers from multiple, independent problems. But the notable
                                 5 and fatal infirmity is that, as noted, Lehman is asserting rights that have already
                                 6 been adjudicated between the parties during the first litigation. And that repetition
                                 7 of duplicative claims constitutes Lehman splitting its cause of action. Indeed, the
                                 8 law is well settled that a single claim cannot be divided and made the basis for
                                 9 several lawsuits. See e.g., Owl Drug Co. v. Bryant, 115 Cal.App.2d 296, 303 (1953)
                                10 (“A plaintiff must recover in one action all he is entitled to; if dissatisfied with the
                                11 result, he cannot bring a new suit to recover something more on the same cause of
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 action.’ 34 C.J. p. 822, 50 C.J.S., Judgments, § 657. ‘Where a demand or right of
                                13 action is in its nature entire and indivisible it cannot be split up into several causes
                                14 of action and sued piecemeal; but a recovery for one part will bar a subsequent
                                15 action for the whole, the residue or another part.’ 34 C.J., p. 827, 50 C.J.S.,
                                16 Judgments, § 661. ‘This is the necessary result of the application of the well-settled
                                17 principle that an entire claim, arising either upon a contract or from a wrong, cannot
                                18 be divided and made the subject of several suits.’)5
                                19
                                20   5
                                            Claim splitting and claim preclusion are matters of California public policy,
                                21   and thus California law must govern their disposition irrespective of any choice of
                                     law provisions in the LPAs. See e.g., Wulfjen v. Dolton, 24 Cal.2d 891, 894-895
                                22   (1944) (“The rule against splitting a cause of action is based upon two reasons: (1)
                                23   That the defendant should be protected against vexatious litigation; and (2) that it is
                                     against public policy to permit litigants to consume the time of the courts by
                                24   relitigating matters already judicially determined, or by asserting claims which
                                25   properly should have been settled in some prior action.”); see also Sych v. Ins. Co. of
                                     N. Am., 173 Cal. App. 3d 321, 328, (Ct. App. 1985) (“The doctrine of res judicata
                                26   represents strong public policy promoting judicial economy by minimizing
                                27   repetitive litigation, preventing inconsistent judgments which undermine the
                                     integrity of the judicial system, and providing repose by preventing a person from
                                28                                                                              (Continued…)
                                     2759980.1 24312-200
                                                                                      10
                                                                     NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 16 of 20 Page ID #:362




                                 1            The California Supreme Court has adopted and affirmed the principle against
                                 2 splitting causes of action, as a means of: (1) sparing the defendant from vexatious
                                 3 litigation; and (2) preserving the public policy of prohibiting the time and resources
                                 4 of the Courts from being consumed by matters already adjudicated. See Wolfjen v.
                                 5 Dolten, 24 Cal.2d 891, 894-895 (1944). In applying these principles, the Courts –
                                 6 both California Courts and their Federal counterparts sitting in diversity – have
                                 7 emphasized that this doctrine is one of substance, not form. Accordingly, the law is
                                 8 unconcerrned with the identity of the specific relief being sought in consecutive
                                 9 cases, but rather the substantive right the plaintiff seeks to vindicate. The Ninth
                                10 Circuit, applying California law, explained this “primary right” theory, and its
                                11 implications for claim preclusion:
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12            By contrast, California's doctrine of claim preclusion does not require identity
                                              in relief sought. “Res judicata precludes piecemeal litigation by splitting a
                                13            single cause of action or relitigation of the same cause of action on a different
                                              legal theory or for different relief.”
                                14
                                              …
                                15
                                              Under California's doctrine of claim preclusion, ‘all claims based on the same
                                16            cause of action must be decided in a single suit; if not brought initially, they
                                              may not be raised at a later date.’ [Citations omitted.] As opposed to the
                                17            ‘federal ‘transactional’ theory of claim preclusion, ‘California courts employ
                                              the ‘primary rights' theory to determine what constitutes the same cause of
                                18            action for claim preclusion purposes.’
                                19            A ‘cause of action’ is comprised of a ‘primary right’ of the plaintiff, a
                                              corresponding ‘primary duty’ of the defendant, and a wrongful act by the
                                20            defendant constituting a breach of that duty.’ Crowley v. Katleman, 8 Cal.4th
                                              666, 34 Cal.Rptr.2d 386, 881 P.2d 1083, 1090 (1994). “[I]f two actions
                                21            involve the same injury to the plaintiff and the same wrong by the defendant
                                22
                                23 (…Continued)
                                   being harassed by vexatious litigation”); and see Armed Forces Commc'ns, Inc. v.
                                24
                                   Cass Commc'ns, Inc., 60 F.3d 832 (9th Cir. 1995) (“Under California law, a court
                                25 cannot give force to a choice of law provision if the contract includes clauses that
                                   ‘violate a strong California public policy.’”) (Emphasis added.) Thus, California
                                26
                                   law must determine questions of claim splitting, even if the Lehman-Bancorp
                                27 agreement maintains a foreign choice of law provision, as it does.
                                28
                                     2759980.1 24312-200
                                                                                  11
                                                               NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 17 of 20 Page ID #:363




                                 1            then the same primary right is at stake even if in the second suit the plaintiff
                                              pleads different theories of recovery, seeks different forms of relief and/or
                                 2            adds new facts supporting recovery.” Eichman v. Fotomat Corp., 147
                                              Cal.App.3d 1170, 197 Cal.Rptr. 612, 614 (1983). “If the same primary right is
                                 3            involved in two actions, judgment in the first bars consideration not only of
                                              all matters actually raised in the first suit but also all matters which could
                                 4            have been raised.” Id. (emphasis added). “[U]nder the primary rights theory,
                                              the determinative factor is the harm suffered. When two actions involving the
                                 5            same parties seek compensation for the same harm, they generally involve the
                                              same primary right.” Boeken v. Philip Morris USA, Inc., 48 Cal.4th 788, 108
                                 6            Cal.Rptr.3d 806, 230 P.3d 342, 348 (2010).’
                                 7
                                     Gonzales v. California Dep't of Corr., 739 F.3d 1226, 1232-33 (9th Cir. 2014); see
                                 8
                                     also Trujillo v. Santa Clara County 775 F.2d 1359, 1366 (9th Cir. 1985) (“In
                                 9
                                     California, res judicata precludes a plaintiff from litigating a claim if: the claim
                                10
                                     relates to the same “primary right” as a claim in a prior action, the prior judgment
                                11
    LLP




                                     was final and on the merits, and the plaintiff was a party or in privity with a party in
FREEMAN, FREEMAN & SMILEY,




                                12
                                     the prior action.”
                                13
                                14            Those principles obtain here, and must result in dismissal of the lawsuit on
                                15 res judicata grounds. Lehman, for all the intellectual gymnastics in the most recent
                                16 Complaint – all aimed at ensuring the BanCorp could not determine which contracts
                                17 and which breaches were being alleged – is clearly seeking recovery for the same
                                18 breaches and on the same agreements as the first lawsuit. There is in fact no
                                19 escaping that conclusion. BanCorp only entered into a single basic loan purchase
                                20 agreement with Lehman, and thus the same transactional contract is plainly at issue
                                21 in both lawsuits. Likewise, the breaches are essentially identical and, even by
                                22 Lehman’s contention, would have or did occur at the same time.6
                                23 / / /
                                24
                                     6
                                25    The second lawsuit alleges that the GSEs filed proofs of claim in the Lehman
                                   bankruptcy matter. BanCorp is informed that those proofs of claim were filed
                                26 before Lehman initiated the first lawsuit in 2010, further confirming that the
                                27 purported breaches that underlie the second lawsuit had already occurred, and could
                                   have and should have been included in the first action.
                                28
                                     2759980.1 24312-200
                                                                                  12
                                                               NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 18 of 20 Page ID #:364




                                 1            Accordingly, the fundamental claims – or primary right – Lehman seeks to
                                 2 vindicate in the second litigation have already been adjudicated in the first action,
                                 3 and reduced to judgment. That is, the right to be free of a breach of the LPA
                                 4 between Lehman and Bancorp, concerning the representations and warranties in that
                                 5 agreement. Having pursued its claims on that right to conclusion, the matter is now
                                 6 res judicata, and the second action is therefore barred. There is no other appropriate
                                 7 result.
                                 8            B.           The Indemnity Claim Is Barred By The Statute Of Limitations
                                 9            Lehman’s claim for relief against Bancorp is also prohibited by the statute of
                                10 limitations and/or laches. Lehman is suing under agreements that identify New
                                11 York choice of law. New York maintains a six year statute of limitations for breach
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 of written contract. N.Y. CPLR LAW § 213(2). And a cause of action in New York
                                13 accrues at the time of the breach. See Ely-Cruikshank Co. v. Bank of Montreal, 615
                                14 N.E.2d 985, 986 (N.Y. 1993). In our case, BanCorp only sold loans to Lehman
                                15 before Lehman’s 2008 bankruptcy, and none after. Indeed, that fact is clear on the
                                16 face of the Complaint. See Complaint, ¶¶ 9-10.7 Thus, at the absolute latest,
                                17 Lehman had to file its claim on the second action no later than 2014. It waited until
                                18 2015, and the lawsuit is thus barred by the statute of limitation under New York law.
                                19            That said, Delaware law, with a three-year statute of limitations for breach of
                                20 contract, arguably governs these claims. New York law provides that a breach of
                                21 contract claim must be filed in accordance with New York limitations law and the
                                22 law where the cause of action accrued. Global Fin. Corp. v. Triarc Corp., 715
                                23 N.E.2d 482, 484 (N.Y. 1999). Where the plaintiff is a corporation, the cause of
                                24 action accrues in the company’s state of incorporation or its principal place of
                                25
                                     7
                                       Lehman alleges Bancorp entered into the LPA with Lehman Brothers Bank (¶ 9),
                                26
                                   its predecessor, and that LBB petitioned for Bankruptcy protection on September
                                27 15, 2008 (¶ 10).
                                28
                                     2759980.1 24312-200
                                                                                     13
                                                                    NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 19 of 20 Page ID #:365




                                 1 business. Oxbow Calcining USA Inc. v. American Indus. Partners, 948 N.Y.S.2d 24,
                                 2 30 (N.Y. App. Div. 2012). Here, the underlying Lehman entity – Lehman Brothers
                                 3 Bank, the entity that filed bankruptcy – had its principal place of business in
                                 4 Delaware. And since Lehman Brothers Holdings, the plaintiff here, is merely a
                                 5 successor of Lehman Brothers Bank, that means Delaware, with its shorter
                                 6 limitations period, controls. Although the lawsuit is barred under both New York
                                 7 and Delaware law, it’s worth noting that Delaware law is likely to control. And the
                                 8 statute of limitations has plainly run under Delaware law.
                                 9            Either way, Lehman’s claims must be dismissed. Those claims are based
                                10 upon the underlying alleged misrepresentations of the information in the loan files,
                                11 and therefore accrues at the time of sale, which had to be prior to Lehman Brothers
    LLP
FREEMAN, FREEMAN & SMILEY,




                                12 Bank’s bankruptcy petition in September 2008 – there is no allegation that Bancorp
                                13 transacted any business with Lehman after Lehman filed for bankruptcy in
                                14 September 2008. Lehman therefore only had until 2011 under Delaware law, and
                                15 2014 under New York Law to file this lawsuit. Lehman did not file until June 26,
                                16 2015; its claims are therefore time barred.
                                17            C.           The Lawsuit Is Also Barred By Laches
                                18            If Lehman’s claim for relief is not barred by the statute of limitations, the
                                19 doctrine of laches demands the same result. Lehman had, literally, years, to bring
                                20 these claims to BanCorp’s attention, and failed and refused to do so. And the
                                21 refusal to bring the claims, or notify BanCorp, has resulted in real prejudice –
                                22 BanCorp is now being forced to defend a stale lawsuit, and was denied the right to
                                23 participate in the negotiation of the settlements with the GSEs. Under these
                                24 circumstances, Lehman cannot be permitted to pursue these claims, given the
                                25 unwarranted and unjustified delay. Laches prohibits it. See Kleinclaus v. Dutard
                                26 147 Cal. 245, 249 (1905) (“In other words, the question is addressed to the sound
                                27 discretion of the chancellor in each case.’ Where the lapse of time in the assertion of
                                28 the claim and the enforcement thereof, taken in connection with the circumstances
                                     2759980.1 24312-200
                                                                                     14
                                                                    NOTICE OF MOTION AND MOTION TO DISMISS
                             Case 2:15-cv-04867-JAK-PJW Document 32 Filed 10/09/15 Page 20 of 20 Page ID #:366




                                 1 disclosed, is such as to show inexcusable delay on the part of the claimant,
                                 2 considerations of public policy and the difficulty of doing entire justice obtain, and
                                 3 are often sufficient to warrant a court of equity in declining, upon the ground of
                                 4 laches, to commence an investigation”).
                                 5 V.         CONCLUSION
                                 6            For the foregoing reasons, defendant PMC Bancorp respectfully requests that
                                 7 the Complaint against it be dismissed in its entirety.
                                 8
                                 9 DATED: October 9, 2015                 FREEMAN, FREEMAN & SMILEY, LLP
                                10
                                11
    LLP




                                                                          By:         /s/ Todd M. Lander
FREEMAN, FREEMAN & SMILEY,




                                12
                                                                                TODD M. LANDER
                                13                                              Attorneys for PMC BANCORP, f/k/a
                                                                                PROFESSIONAL MORTGAGE CORP.
                                14
                                15
                                16
                                17
                                18
                                19
                                20
                                21
                                22
                                23
                                24
                                25
                                26
                                27
                                28
                                     2759980.1 24312-200
                                                                                15
                                                              NOTICE OF MOTION AND MOTION TO DISMISS
